   2:18-mn-02873-RMG           Date Filed 08/19/22       Entry Number 2548          Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


      IN RE: AQUEOUS FILM-                                MDL No. 2:18-mn-2873-RMG
      FORMING FOAMS PRODUCTS
      LIABILITY LITIGATION                        CASE MANAGEMENT ORDER NO. 19-E
                                                    This Document Relates to All Actions

    Fifth Amended Scheduling Order Governing First Water Provider Bellwether Trial

       This CMO 19-E amends the schedule set forth in CMO 19 for the Water Provider

Bellwether Trial Pool cases. The resulting schedule is as follows:

       1. Recommendation of first bellwether case for trial: The parties shall meet and confer
          and, if in agreement, submit by September 9, 2022 the parties’ joint ranked
          preferences for the first bellwether trial. The parties shall provide a memorandum to
          the Court explaining why each case is so ranked relative to each other case. If the
          parties are not in agreement, however, on or before the same date each side shall file
          its own ranked preferences for the first bellwether trial with supporting memoranda
          explaining each case’s ranking relative to each other case.

       2. Designation of first bellwether case for trial: The Court will designate the first
          bellwether case for trial. After such case is designated for trial, the Court will issue a
          new scheduling order setting all remaining deadlines and specifying page limits for
          dispositive briefing.

       AND IT IS SO ORDERED.
                                                                      s/ Richard Mark Gergel
                                                                      Richard Mark Gergel
                                                                      United States District Judge

August 19, 2022
Charleston, South Carolina
